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                                          CLOSING STATEMENT

SELLER:                             Iowa’s First, Inc.

BUYER:                              John A. Ruppel

LEGAL DESCRIPTION:                  Auditor’s Parcel Letter “A of Lot 1”, Southeast Development Park
                                    #4 in Webster City, Iowa, per Survey Cabinet Slide 118A, page 10
                                    filed on September 9, 2009.

CLOSING DATE:                       April 13, 2018




Purchase Price                                                                       $     135,000.00

Less earnest money (held in Davis Brown Law Firm Trust Account)                      -      10,000.00

Less prorated real estate taxes covering period 07/01/17 through
        04/12/18 ($8,550 [full year] x 286 days ÷ 365 days)                          -       6,699.45

Plus deed recording                                                                 +           15.00

Balance due at closing (payable to and held in Johnson Law Firm Trust Account)       $     118,315.55




Total amount held in Johnson Law Firm Trust Account                                      $ 118,315.55

Less expenses:

        Johnson Law Firm (e-record) – revenue stamps                                 -        215.20
        Johnson Law Firm (e-record) – deed recording fee                             -         15.00
        Johnson Law Firm (e-record) – partial mortgage release recording fee         -         15.00
        Hamilton County Abstracting Services, Inc. – abstracting                    -         P.O.C.
        Davis Brown Law Firm – Seller’s legal fees                                  -         P.O.C.

Net proceeds to Davis Brown Law Firm Trust Account                                       $ 118,070.35


Note: Johnson Law Firm to prepare 1099.




Agreed to:

         “SELLER”                                                       “BUYER”

Iowa’s First, Inc.

By_________________________________                      ____________________________________
                                                         John A. Ruppel
